    Case 2:24-cv-03319-FMO-AS           Document 13       Filed 05/10/24      Page 1 of 2 Page ID
                                              #:275
                                UNITED STATES DISTRICT COURT                            JS-6
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.        CV 24-1967 FMO (ASx) & CV 24-3319 FMO (ASx)                Date     May 10, 2024
 Title           Jon Christian Stedman Witt v. Kohls Inc. & Minnie Jones v. Kohls
                 Corporation et al.



 Present: The Honorable           Fernando M. Olguin, United States District Judge
                Vanessa Figueroa                                        None Present
                   Deputy Clerk                                    Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                    None Present                                         None Present
 Proceedings:            (In Chambers) Order to Show Cause re: Consolidation

       Having reviewed the Stipulation to Consolidate Cases (Dkt. 16, “Stipulation”), filed in Jon
Christian Stedman Witt v. Kohls Inc., CV 24-1967 FMO (ASx) (“Witt”) and in Minnie Jones v.
Kohls Corporation, et al., CV 24-3319 FMO (ASx) (“Jones”) (Dkt. 12), by which the parties in Witt
and Jones agree to consolidation of the actions, IT IS ORDERED THAT:

         1. The Stipulation (Document No. 16) is granted as set forth in this Order.

       2. Witt, CV 24-1967 FMO (ASx) and Jones, CV 24-3319 FMO (ASx), are hereby
consolidated. The Clerk shall consolidated these actions such that the earlier filed action, Witt,
CV 24-1967 FMO (ASx) is the lead case. All future filings shall be filed in Witt, CV 24-1967 FMO
(ASx).

         3. A Consolidated Amended Complaint shall be filed no later than May 23, 2024.

         4. Defendants shall file their Answer or Rule 12 motion no later than June 20, 2024.

         5. Plaintiff shall file their Opposition to any motion to dismiss no later than July 18, 2024.

         6. Defendants shall file their Reply brief no later than August 1, 2024.

         7. The hearing on the motion to dismiss shall be on August 15, 2024.

       8. The scheduling conference is continued to August 15, 2024. The parties shall file their
joint Rule 26(f) report no later than August 1, 2024.

         9. The pending motion (Document No. 10) in Witt, CV 24-1967 FMO (ASx) is denied as
moot.



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         10. The Clerk shall administratively close Jones, CV 24-3319 FMO (ASx).




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                                                     Initials of Preparer            vdr




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